alba

Aly Yame- 15 Zeger Cooper Aostrsf Ef And > Gis ts Alllénvoud Low Leiliby.
firm 65K ng h you caf Stand. Ase nye Senfenting transcrip h (Priankes (1lesse,
4m Ming G dating $0 E need i look af ae framserifts.

Cow of AdexX ,

‘\\

/ Sespes bull

: | Sg saseel
cose CLH-1-19-CR-00183-01 _ bY 770037
end ELY- 1 -21- ev- 9064-01
INMATE NAME/NUMBER: “9° Gocpec ZesKhY 6Y720027
FEDERAL CORRECTIONAL COMPLEX-ALLENWOOD 4o./
P.O.BOX (2°@ iS APR 2022- PMi i
WHITE DEER, PA 17887

HARRISBURG PA 171

 

Couet Clek US Disbxch Couct
/O/ U/. I jie saat sleet
(Ec ltimore/, PID x29! PR 19, Sele

4

ZiZOi-Zezsis epeerETANE AEE pegbefag type Ugalde AH deg TE Ura
- met 3,

)
|
|

   

| LEU TN GE EET Te te \

—— ankle . ~ Se, fr oyna pees pee

ee in vie _ ~~ —o
